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                                 UNITED STATES DISTRICT COURT
                                    DISTRICT OF NEW JERSEY




UNITED STATES OF AMERICA
                                                              MAGISTRATE NO. 12-2547


       V.

                                                                       ORDER

 SCOTT MAZZARA




        The financial inability of the defendant to retain counsel having been established by the Court,

and the defendant not having waived the appointment of counsel,

                It is on this    27th      day of      JUNE      ,   2012,

       ORDERED that                 ANDREA BERGMAN                           from the Office of the Federal

Public Defender for the District of New Jersey is hereby appointed to represent said defendant in the

cause until further order of the Court.




                                                     Douglas E. Arp&t
                                                     United States Magistrate Judge
